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                               PAWAR LAW GROUP P.C.
                                       ATTORNEYS AT LAW
                                    20 V ESEY S TREET S UITE 1210
                                    N EW Y ORK N EW Y ORK 10007
        Robert Blossner                   T EL (212) 571 0805
                                          FAX (212) 571 0938
        Vik Pawar
                                        www.pawarlaw.nyc


                                                                           March 8, 2019

    BY ECF:
    The Honorable Sanket J. Bulsara
    Eastern District of New York


    Re:             Clarke v. The City of New York, et al., 18 CV 7300 (ENV) (SJB)


    Dear Judge Bulsara:

                    I want to sincerely apologize to Your Honor, the Court staff and also my
    adversary.

                   I just received a call from my secretary that everyone was waiting for me
    for a 10:30 a.m. initial conference today.1 I failed to calendar the conference (on the
    mistaken belief that it would take place after the defendant City filed an answer). I am
    not in a position to appear in Court today. I can imagine the frustrations for the Court
    and my adversary that this may have caused. I am truly sorry.

                    I am available on the following dates for the initial conference. March 11,
    12, 19 (in the morning), 20, 21, 26, 27.

                    Once again, I apologize to the Court and my adversary.

                    Thank you.
                                                                    Respectfully,

                                                                    /s
                                                                    Vik Pawar (VP9101)



    1
      I just spoke with Your Honor’s chambers and was advised that appearing by telephone
    is not preferred.
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    Cc:   Defense counsel (by ECF)




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